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 1   Robert M. Holley (SBN 50769)
     Attorney at Law
 2   2150 River Plaza Drive, Ste. 164
     Sacramento, CA 95833
 3   Telephone: (916)922-2111
 4
     Counsel for Mr. Damian Peterson
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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       ) Case No. 2:12-cr-00169-MCE
                                     )
12                  Plaintiff,       ) STIPULATION AND ORDER MODIFYING
                                     ) CONDITIONS OF PRETRIAL RELEASE
13        v.                         )
                                     )
14   DAMIAN PETERSON,                )
                                     )
15                  Defendant.       )
                                     )
16   _______________________________ )
17
18                                     BACKGROUND
19             Mr. Damian Peterson is charged by way of indictment with two
20   counts of violating 21 U.S.C. Section 843(b), use of a communication
21   facility for purposes of drug trafficking (counts 39 and 40) carrying a
22   maximum penalty for each count of 4 years incarceration, a $250,000
23   fine, and a three (3) year term of supervised release.
24             On April 25, 2012, Mr. Peterson was released from pretrial
25   custody on a $50,000 co-signed unsecured appearance bond with special
26   conditions including condition number 12 which reads as follows:
27             You shall participate in the following home
               confinement program components and abide by all the
28             requirements of the program, which will include
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 1              electronic monitoring or other location
                verification system;
 2
                Curfew: You are restricted to your residence every
 3              day as directed by Pretrial Services.
 4              You shall, in accordance with this release order,
                have a home monitoring unit installed in your
 5              residence, a radio frequency transmitter device
                attached to your person, and shall comply with all
 6              instructions for the use and operation of said
                devices as given to you by the Pretrial Service
 7              Agency and employees of the monitoring company.
                You shall pay all or part of the costs of the
 8              program based upon your ability to pay, as
                determined by the pretrial services officer;
 9
10              Since the inception of this order, Mr. Peterson has been
11   supervised by Agent T. Gaskins, of the Pretrial Services Office and has
12   been on electronic monitoring pursuant to the above-stated condition
13   number 12 for more than one year.       Ms. Gaskins is of the opinion and
14   makes the recommendation that this particular condition number 12 is no
15   longer necessary and that the Special Conditions of Release be modified
16   to eliminate this condition of electronic monitoring.           Accordingly, the
17   parties hereto enter into the following stipulation.
18
19                                      STIPULATION
20              IT IS HEREBY STIPULATED by and between the parties hereto
21   through their respective legal counsel, that the Court’s Pretrial
22   Release Order issued April 25, 2012 be modified to eliminate and
23   ////
24   ////
25   ////
26   ////
27   ////
28   ////


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 1   exclude Special Condition number 12, electronic monitoring, as set
 2   forth above.
 3                Dated: May 3, 2013
 4                                             /s/ Robert M. Holley
 5                                             Mr.Robert M. Holley, Esq.
                                               Counsel for Damian Peterson
 6
 7
                  Dated: May 3, 2013
 8
                                               /s/ Jason Hitt (by RMH)
 9
                                               Mr. Jason Hitt, Esq.
10                                             Assistant United States Attorney
11
12
13                                           ORDER
14
                  On the stipulation of all parties and good cause appearing,
15
     IT IS SO ORDERED.
16
     Dated:     May 3, 2013
17
18
19
20                                        _____________________________________
                                          KENDALL J. NEWMAN
21                                        UNITED STATES MAGISTRATE JUDGE
22
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